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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )                    4:06CR3128
                                                )
              v.                                )
                                                )
KATIE LYNN BOYSEN,                              )          TENTATIVE FINDINGS ON
                                                )        PRESENTENCE INVESTIGATION
                      Defendant.                )                 REPORT
                                                )


       No statements indicating any objection to the Presentence Investigation Report have been
filed. Accordingly, I tentatively find that the Presentence Investigation Report is true and
accurate. Objections may be made at the time of the sentencing, but no evidence shall be
received.

       Dated March 27, 2007.

                                       BY THE COURT


                                       s/ Warren K. Urbom
                                       United States Senior District Judge
